8:03-cr-00163-LSC-SMB        Doc # 136      Filed: 03/12/07    Page 1 of 4 - Page ID # 605




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )           CASE NO. 8:03CR163
                                              )
                     Plaintiff,               )
                                              )                MEMORANDUM
       vs.                                    )                 AND ORDER
                                              )
JORGE A. ARONJA-INDA,                         )
                                              )
                     Defendant.               )

       This matter is before the Court on the Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence (Filing No. 135) filed by the Defendant, Jorge A. Aronja-

Inda. Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a § 2255 motion, and describes the initial review

process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

       On August 6, 2003, Aronja-Inda pleaded guilty to Count I of an Indictment charging

him with conspiracy to distribute 50 grams or more of cocaine base, 500 grams or more

of cocaine, and 500 grams or more of methamphetamine. Under the plea agreement, the

drug quantity was to be determined at sentencing. Aronja-Inda’s written plea agreement

included a waiver of his right to appeal, subject to two specific exceptions: if the Eighth

Circuit or the Supreme Court later find that the substantive basis of Aronja-Inda’s guilty

plea and resulting conviction fails to state a claim; and any issue of law brought to the

Court’s attention at sentencing in which the Court agrees that further review is needed.
8:03-cr-00163-LSC-SMB        Doc # 136     Filed: 03/12/07    Page 2 of 4 - Page ID # 606




(Filing No. 49, ¶ 5.) Aronja-Inda also agreed in his written agreement that he waived his

right to file a motion pursuant to 28 U.S.C. § 2255 subject to limited exceptions: the

exceptions stated above with respect to Aronja-Inda’s appellate waiver; and ineffective

assistance of counsel or prosecutorial misconduct if the grounds were not known or

reasonably knowable to Aronja-Inda at the time of his plea. (Id.) At his change of plea

hearing, Aronja-Inda stated under oath that he understood that he had waived his right to

appeal. (Filing No. 54 (TR), at 11-12.) The government’s factual basis stated at the plea

hearing included various drug amounts, which Aronja-Inda testified could be proved by the

government beyond a reasonable doubt. (Id. at 25-26.) At sentencing a hearing was held

with respect to drug quantity, among other issues. (Filing Nos. 104, 105.) The Court

sentenced Aronja-Inda to 324 months imprisonment and 5 years supervised release.

Aronja-Inda’s direct appeal was dismissed based on the existence of a valid waiver of

appellate rights. (Filing No. 123.) The Supreme Court denied a writ of certiorari. (Filing

No. 126.) This Court denied Aronja-Inda’s motion for new trial and denied him leave to

proceed on appeal in forma pauperis with respect to that decision. (Filing Nos. 128, 132.)

The Eighth Circuit ordered that upon receipt of the docketing fee the court would review

Aronja-Inda’s appeal of the denial of his Rule 60(b) motion. Apparently, Aronja-Inda has

not paid the docketing fee since this matter has not been reviewed in the appellate court.

Aronja-Inda then filed his § 2255 motion. (Filing No. 135.)

       In his § 2255 motion, Aronja-Inda raises, without discussion,1 the following issues:

1) trial counsel was ineffective in failing to argue that his sentence was unconstitutional


       1
       IA stated that a memorandum accompanied his motion; however, no memorandum
has been filed.

                                            2
8:03-cr-00163-LSC-SMB        Doc # 136     Filed: 03/12/07     Page 3 of 4 - Page ID # 607




pursuant to Booker, and this issue fell outside his appeal waiver; 2) his sentence was

unconstitutional as it exceeded the maximum allowable under the law, pursuant to a brief

that was to accompany his motion; and 3) his appeal waiver is unenforceable and should

allow him to appeal an “illegal” sentence. Giving Aronja-Inda the benefit of the doubt that

one or more of his arguments allow his § 255 motion to be addressed despite his waiver

of his right to file a § 2255 motion, the Court will address his arguments.

Ground One: Ineffective Assistance of Counsel

       In order to establish ineffective assistance of counsel, Aronja-Inda must satisfy both

prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that

counsel performed outside the wide range of reasonable professional assistance and

made errors so serious that counsel failed to function as the kind of counsel guaranteed

by the Sixth Amendment. Id. at 687-89. The prejudice prong requires a movant to

demonstrate that seriously deficient performance of counsel prejudiced the defense. Id.

at 687.

       With respect to his appellate waiver, Aronja-Inda reargues issues already decided

by the Eighth Circuit on direct appeal under the guise of an ineffective assistance of

counsel claim. Claims decided on direct appeal cannot be relitigated in a § 2255 motion.

United States v. Davis, 406 F.3d 505, 511 (8th Cir. 2005), cert. denied, 126 S. Ct. 1083

(2006); Bear Stops v. United States, 339 F.3d 777, 780 (8th Cir. 2003). Aronja-Inda cannot

meet either prong of the Strickland test, and this claim is denied.




                                             3
8:03-cr-00163-LSC-SMB        Doc # 136      Filed: 03/12/07      Page 4 of 4 - Page ID # 608




Ground Two: Unconstitutional Sentence

       Aronja-Inda stated that this claim would be further argued in an accompanying

memorandum, which does not in fact accompany his motion. The Court cannot determine

the nature of this claim as it is stated. The claim is denied.

Ground Three: Appeal Waiver

       Aronja-Inda argued that his appeal waiver does not encompass an “illegal

sentence.” The issue of Aronja-Inda’s appeal waiver was discussed and denied by the

Eighth Circuit and cannot be relitigated in a § 2255 motion. Davis, 406 F.3d at 511; Bear

Stops, 339 F.3d at 780. The claim is denied.

                                      CONCLUSION

       For the reasons discussed, the Court concludes that under Rule 4(b) the

Defendant’s § 2255 motion must be summarily denied.

       IT IS ORDERED:

       1.     The Court has completed the initial review of the Defendant’s Motion Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence (Filing No. 135);

       2.     Upon initial review, the Court summarily denies the Defendant's claims raised

in the § 2255 motion, and the motion (Filing No. 135) is summarily denied;

       3.     A separate Judgment will be issued denying the § 2255 motion; and

       4.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

       DATED this 12th day of March, 2007.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge


                                             4
